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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                           Case No. 07-cr-20531

v                                                          Honorable Thomas L. Ludington

TORRELEE BRAZIL,

                      Defendant.

__________________________________________/

             ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

       Torrelee Brazil is currently serving a 120-month sentence for distributing crack cocaine.

On June 21, 2013, Brazil filed a motion to reduce his sentence based on the retroactive

application of the Fair Sentencing Act pursuant to 18 U.S.C. § 3582(c). Because Brazil was

sentenced to the mandatory minimum, the FSA does not affect his sentence and his motion will

be denied.

                                                I

       The Anti-Drug Abuse Act of 1986 established severe penalties for the possession and

distribution of crack cocaine. The disparity between the penalties for distributing crack cocaine

and powder cocaine was dramatic: 100-to-1. As the Supreme Court observed, the Act “imposed

upon an offender who dealt in powder cocaine the same sentence it imposed upon an offender

who dealt in one-hundredth that amount of crack cocaine.” Dorsey v. United States, 132 S. Ct.

2321, 2326 (2012).

       In 2010, Congress enacted the Fair Sentencing Act (FSA), Pub. L. No. 111–220, 124

Stat. 2372, which narrowed the disparity between sentences for crack cocaine offenders and
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powder cocaine offenders. Instead of 100-to-1, it now stands at 18-to-1. In other words, the

FSA imposes upon an offender who dealt in powder cocaine the same sentence it imposes upon

an offender who dealt in one-eighteenth that amount of crack cocaine. The FSA took effect on

August 3, 2010.

       Among other things, the FSA reduced the statutory minimum sentences for crack cocaine

offenses by increasing the quantity of crack cocaine necessary to trigger the minimums—raising

the amount from 5 grams to 28 grams for the 5-year minimum sentence, and from 50 grams to

280 grams for the 10-year minimum sentence. See FSA § (2)(a). The FSA also directed the

Sentencing Commission to conform the sentencing guidelines to the new statutory minimums “as

soon as practicable, and in any event not later than 90 days” after the FSA’s enactment. Id. §

(8)(1). The Sentencing Commission then promulgated amendments to the guidelines, reducing

the recommended sentencing ranges to levels consistent with the FSA, to be applied

retroactively. See U.S. Sentencing Guidelines Manual App. C Amends. 750, 759 (2011).

       The Sixth Circuit originally concluded that the FSA’s new mandatory minimums did not

affect the penalties associated with crimes committed before the statute’s effective date. See

United States v. Carradine, 621 F.3d 575, 580 (6th Cir. 2010). But with Dorsey, the Supreme

Court established that “Congress intended the [FSA’s] new, lower mandatory minimums to

apply to the post-Act sentencing of pre-Act offenders.” 132 S. Ct. at 2335. Accordingly, the

FSA’s amended mandatory minimums only affect defendants sentenced after August 3, 2010.

       But the new advisory guidelines, promulgated by the Sentencing Commission pursuant to

the FSA, are different. As the Sentencing Commission established in Amendment 759, the

altered guidelines “may be considered for retroactive application.” U.S. Sentencing Guidelines




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Manual App. C Amend. 759 (2011). Accordingly, the new guidelines may apply to alter a

sentence imposed before August 3, 2010.

       Title 18 U.S.C. § 3582 provides the mechanism for defendants, the government, and even

the Court to move for reduced sentences based on the newly-promulgated guidelines. Indeed, §

3582(c)(2) establishes that a court may modify a term of imprisonment that has been imposed “in

the case of a defendant who has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission . . . .” Thus, upon a

motion by either party, or even sua sponte, “the court may reduce the term of imprisonment, after

considering the factors set forth in section 3553(a) to the extent that they are applicable, if such

reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

Id.

       Accordingly, “when the sentencing judge relied on the sentencing guidelines and those

guidelines are later made more lenient,” a final sentence may be modified. United States v.

Hameed, 614 F.3d 259, 262 (6th Cir. 2010). In such a situation, courts are to engage in a two-

part inquiry to determine eligibility for a reduction: (1) whether the defendant’s sentence was

“based on a sentencing range that has subsequently been lowered by the Sentencing

Commission”; and (2) whether a reduction in the defendant’s sentence would be “consistent with

applicable policy statements issued by the Sentencing Commission.” § 3582(c)(2); see also

United States v. McClain, 691 F.3d 774, 778–79 (6th Cir. 2012).

                                                II

        On August 12, 2008, Brazil pleaded guilty to distributing at least 5 grams of cocaine

base. According to the Presentence Investigation Report, McKinney’s base offense level was 24,

but he received a three point reduction for acceptance of responsibility—resulting in a total



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offense level of 21.     Because Brazil was on probation for a prior possession of cocaine

conviction, his criminal history was set as category II. The resulting guidelines range of

imprisonment was 41 to 51 months. The presentence report also noted, however, that mandatory

minimum of 120 months applied. On December 8, 2008, the Court sentenced Brazil to 120

months’ imprisonment—the statutory minimum.

       As noted above, in 2010 Congress enacted the FSA, which substantially reduced the

mandatory minimums associated with crack cocaine offenders like Brazil. Subsequently, the

Sentencing Commission amended the sentencing guidelines applicable to crack cocaine

offenders.

       But § 3582(c)(2) only allows for a sentence reduction when the sentence imposed was

“based on a sentencing range that has subsequently been lowered by the Sentencing

Commission.” Brazil’s sentence was not based on a guidelines range that later changed, but

rather a statutorily-imposed mandatory minimum. And, as the Sixth Circuit recently made clear

in United States v. Blewett, No. 12-5226, 2013 WL 6231727 (6th Cir. Dec. 3, 2013) (en banc),

the FSA’s new mandatory minimums do “not apply to defendants sentenced before its effective

date.” Id. at *8. So, even if Brazil’s guideline range was reduced, the 120-month statutory

minimum in effect at the time of his sentencing still applies. Therefore, Brazil’s request for a

sentence reduction will be denied.

                                              III

       Accordingly, it is ORDERED that Brazil’s Motion for Retroactive Application of

Sentencing Guidelines (ECF No. 332) is DENIED.

                                                    s/Thomas L. Ludington
                                                    THOMAS L. LUDINGTON
                                                    United States District Judge
Dated: September 2, 2014

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                                           PROOF OF SERVICE

                   The undersigned certifies that a copy of the foregoing order was served
                   upon each attorney of record herein by electronic means and upon
                   Torrelee Brazil #37457-177, Duluth Federal Prison Camp, Inmate
                   Mail/Parcels, P.O. Box 1000, Duluth, MN 55814 by first class U.S. mail
                   on September 2, 2014.

                                                    s/Tracy A. Jacobs
                                                    TRACY A. JACOBS




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